Case 2:01-mc-00021-KSH Document 51_ Fil /28/06_ Page 1 of 1 PagelD: /
oe PROCESS RECEIPT AND RELURN’/7*
U.S. Department of Justice See Instructions for “Service of Process by the U.S. Marshal” AR @

United States Marshals Service on the reverse of this form,
eee eee rere eee eee eee ee ee ee eee ene
PLAINTIFF COURT CASE NUMBER
Cityscape Corp. 2:Q01-MC--00071
DEFENDANT TYPE OF PROCESS WOTLCE OF
Walsh Securities, Tre, Sales
SERVE NAME GF INDIVIDUAL, COMPANY, CORPORATION, ETC,, TO SERVE OR DESCRIPTION GF FROFERTY TO SEIZE OR CONDEMN
»> Property Located Ac: 263-265 8. i0th Street, Lot 18, Block 1796
ADDRESS (Sacet or RFD, Apartment No., City, Siete and ZIP Code)
AT Newark, WE 7103
7 1 i 7 3 . 2
SEND NOTICE OF SERVICE COPY TO REQUFSTER_AT NAME AND ADDRESS BELOW us | Number of process to he 4
served with this Fonn - 285 7
|
Francis Baliak, Esq. . | Number of panties (0 be
Goldanbearsz, Mackler, Sayegh, Mintz, et al j served in this case =
660 New Road k
Northfield, NJ 08225 lCheck for service
eee ! on U.S.A. tL

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Altertate Addresses, Al
delephone Numbers, and Estimated Times Available For Service}:
a

Fold

Please Post on Property: Feb 28, 2006 For: 263-265 S$, 10th Street
Newerk, Nt

Signature of Attorney or other Originator requesuing service on behalf of: 1] PLAINTIFF TRLAEPHONE NUMBER DATE
7 . w ey os —o7e ai ft WIS
FRANCIS BALLAX, ESO. L} DEPENDANT (609) 646-0222 27] /2006

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY — DO NOT WRITE BELOW THIS LINE

lacknowledge receipt for the total | Total Process} District District Signature af Authorized USMS Deputy or Clerk Date

number of process indicated. of Origin to Serve |
a =
SS Monat Now a 37/06,

(Sign only first USM 283 if more
than on: USM 285 is submitted) =

i
Thereby certify and return that ] 2) have personally served, [J have legal evidence of service, | Whave executed as shown in “Remarks”, the process described
on the individual, company, corparatian, elc., at the address shown above ar on the individual, company, corporation, ete,, shown Ht the address inserted below,

C1 t hereby certify and return that Fam unable to locate the individual, company, corporation, ety., named above (See remarks below)

Name and title of individual served ¢if not shown above) A person of suitable age and dis-
CO cretion then residing in the defendant's
usual place of abode.

Address (complete only if different than shown shove) Date of Service | Time um

#2 H%b06 | S30 @@)

Signature of U.S. Marshal or Deputy

7

Service Fer Total Mileage Charges | Potwarding Fee | Total Charges | Advance Deposits | Amount owed te U8. Marshal or Amount of Refund
.. (including cadeavors)
Uso me Aus O8 |
REMARKS: > zy done ~~ a me ,
2/28/meb fassp-ed. Qiomiss KR HBX FOS 2. 0§F
utG. ee?
47, Of
PRIOR EDITIONS l. CLERK OF THE COURT FORM USM-785 (Rev, 12/15/80)

MAY BE USED

+h 5
